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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


In re
         ALLEN DAVID FREEMAN and
         DEMONA ANN FREEMAN,                               Case No. 12-04713-JKC-13
               Debtors.                                    Chapter 13



              UNITED STATES TRUSTEE’S MOTION FOR DETERMINATION
                    OF POST-PETITION FEES, EXPENSES, OR CHARGES

          Nancy J. Gargula, United States Trustee, by counsel, Laura A. DuVall, moves the Court

 for an Order determining the status of the Notice of Postpetition Fees, Expenses, and Charges

 (“Fee Notice”) filed on February 22, 2013 for The Bank of New York Mellon f/k/a The Bank of

 New York, as successor to J.P. Morgan Chase Bank, N.A., as Trustee for C-Bass Mortgage Loan Asset-

 Backed Certificates, Series 2005-RPI filed by servicer Ocwen Loan Servicing, LLC. In support of her

 Motion, the United States Trustee states as follows:

                                                Background

         1.     This court has jurisdiction under 28 U.S.C. § 1334. Venue is proper under 28

U.S.C. § 1409. This matter is a core proceeding. 28 U.S.C. § 157(b)(2)(B).

         2.     On April 23, 2012, Allen David Freeman and Demona Ann Freeman (“Debtors”)

filed for relief under Chapter 13 of the Bankruptcy Code (“Freeman Case”).

         3.     On July 26, 2012, Ocwen Loan Servicing, LLC (“Creditor”) filed its Proof of

Claim in the Freeman Case (“Claim”), designated by the Court on the Claims Register as Claim

No. 8.

         4.     On September 13, 2012, the United States Trustee filed her Objection to the Claim

(“Claim Objection”). The Claim Objection details approximately three pages of errors in the



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Claim and further outlines unsubstantiated, and thus objectionable, charges contained in the

Claim

        5.      The deadline to respond to the Claim Objection was October 15, 2012. Creditor

failed to file a response.

        6.      On October 26, 2012, nine days after the response deadline passed, the Court

entered an Order on the Claim Objection (“Claim Order”). The Order sustained the United States

Trustee’s Claim Objection, disallowed the objectionable itemized fees, expenses, and charges

totaling $10,289.84, disallowed any fees for preparation of the Claim or amendments thereto, and

allowed the balance of the Claim asserting an arrearage of $12,378.19.

        7.      On November 13, 2012, eighteen days after entry of the Claim Order, Creditor

filed its Motion to Reconsider and Motion for Leave to File an Amended Claim (“Motion to

Reconsider”).

        8.      On December 5, 2012, the United States Trustee filed her Objection to the Motion

to Reconsider stating that Creditor had failed to respond to the United States Trustee’s Claim

Objection which resulted in the disallowance of the objectionable itemized fees, expenses, and

charges. Further, the United States Trustee set out the applicable standard of proof for the

Motion to Reconsider and argued that Creditor failed to show requisite cause as to why the Court

should grant Creditor’s Motion to Reconsider and allow Creditor to amend its claim.

        9.      On January 14, 2013, the Motion to Reconsider was heard by the Court. Creditor

appeared at the hearing by counsel, Jennifer Fitzwater, and the United States Trustee appeared by

counsel, Laura A. DuVall and Ronald J. Moore. At the conclusion of the hearing the Court made

findings of fact and conclusions of law on the record. An order denying the Motion to

Reconsider was entered by the Court on January 22, 2013 (“Reconsideration Order”).

        10.      On February 22, 2013, Creditor filed a Notice of Postpetition Fees,

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       Expenses and Charges which supplements Claim Number 8 on the Claims Register

(“Fee Notice”).

       11.     Creditor lists on its Fee Notice a “Bankruptcy Fee,” dated January 17, 2013,

in the amount of $ 300.00. Attached to the Fee Notice is an invoice which provides further

detail regarding this “Bankruptcy Fee.” The invoice indicates the fee assessed to Debtors’

account is described as a “Response to Objection to Claim – (Rec from Brwr).”

                                          Argument

       12.     A review of the case docket indicates that Creditor failed to respond to the

Claim Objection. Thus any fees for a “Response to Objection to Proof of Claim” are

improper and should be disallowed entirely.

       13.     Alternatively, the fees listed in the Fee Notice may refer to the litigation of

the Motion for Reconsideration. While the description of the fee in Creditor’s own

attachment does not support such a reading, the fee should be disallowed nonetheless. The

Court found that adequate cause did not exist to allow for the relief requested in the Motion

to Reconsider. There is simply no justification which would allow Creditor to collect any

fees from Debtors for self inflicted and unnecessary costs of litigation caused by Creditor’s

failure to respond to the initial Claim Objection.

       14.        Further, the Fee Notice may arguably seek reimbursement for a fee that has

been previously disallowed. Specifically, the Claim Order states, “All Proof of Claim

preparation fees for the Claim or any amendment thereto or replacement thereof are hereby

disallowed and may not be charged to Debtors’ mortgage account.” Creditor’s request for a

fee as it relates to a non-existent Objection to Proof of Claim should not be allowed by the

terms of the Claim Order.



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        15.      Creditor may argue that it has the right to collect any fees associated with its

defense of its Proof of Claim under the terms of the Note and Mortgage and thus charge the

Debtors for its efforts. However, the terms of the Note and Mortgage should not apply when

Creditor failed to protect its interests through its non-response to the Claim Objection and

then seek relief when costs mount in an effort to ameliorate the problem created by

Creditor’s own inaction. This cost should be borne by Creditor alone. Although the terms of

the mortgage may contain an indemnification provision shifting responsibility for certain

attorneys’ fees to the Debtor, that provision is inapplicable to the extent a claim is incorrect

or does not comply with Fed. R. Bankr. P. 3001. Cf. United States v. Seckinger, 397 U.S.

203, 211-12 (1970) (a contractual indemnification provision should not be construed to

permit an indemnitee to recover for its own negligence unless the court is “firmly convinced”

that is the intention of the parties; this rule is “particularly applicable” when there is a vast

disparity in bargaining power between the parties); Accord Edward E. Gillen Co. v. U.S.,

825 F.2d 1155, 1156 (7th Cir. 1987).

         Wherefore, the United States Trustee moves the Court for an Order determining the

 status of the Notice of Post-petition Mortgage Fees, Expenses, and Charges filed on February

 22, 2013, and requests that the fee charged to Debtors for “Bankruptcy Fee,” incurred on

 January 17, 2013, in the amount of $300.00 be disallowed and that the Court also disallow any

 future fees as it relates to the Proof of Claim, amendments to the Proof of Claim, or any

 litigation relating to the Proof of Claim or future matters that related to the United States

 Trustee’s efforts, including the instant Motion for Determination and for such further relief as

 the Court deems just.




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                                                 Respectfully submitted,
                                                 NANCY J. GARGULA
                                                 UNITED STATES TRUSTEE


                                           By    /s/ Laura A. DuVall
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 27, 2013 a copy of the foregoing Motion was filed
electronically. Notice of this filing will be sent to the following parties through the Court’s
Electronic Case Filing System. Parties may access this filing through the Court’s system.


     Julia Martene Andrews1 bkmonitor@bbanda.com
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     Mark S. Zuckerberg filings@mszlaw.com


       I further certify that on February 27, 2013 a copy of the foregoing Motion was
mailed by first-class U.S. Mail, postage prepaid, and properly addressed to the following:

      Phillip A. Pluister
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                                                              /s/ Laura A. DuVall
                                                              Laura A. DuVall




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